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                    IN THE UNITED STATES DISTRICT COURT
                   FOR THE SOUTHERN DISTRICT OF ILLINOIS


UNITED STATES OF AMERICA,

      Plaintiff,

v.

JOHN McCRAY, Sr.,

      Defendant.                                        Case No. 05-cr-30027-DRH


                            MEMORANDUM & ORDER


HERNDON, District Judge:

             Before the Court is defendant John McCray, Sr.’s Request and Motion

for Disclosure of Expert Testimony (Doc. 158), as required pursuant to Rule

16(a)(1)(G) of the Federal Rules of Criminal Procedure. The Government has filed

a Response (Doc. 177) to McCray’s Motion, stating that it “has now filed its Notice

of Expert Witnesses in which it makes disclosure of all materials required by Federal

Rule of Criminal Procedure 16(a)(1)(G)” (Doc. 177, ¶ 1). The Government then

states that its Notice of Expert Witnesses appears on the docket under this case

number as document number 175. It further acknowledges its obligation to timely

disclose any other expert witnesses it may elect to call at trial.

             The Court has examined the Notice of Expert Witnesses (Doc. 175) and

it appears sufficient – further, McCray has not objected thereto. As such, the Court



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finds that McCray’s instant request has been satisfied and therefore the instant

Motion (Doc. 158) is FOUND AS MOOT.

            IT IS SO ORDERED.

            Signed this 25th day of October, 2006.

                                                     /s/      David RHerndon
                                                     United States District Judge




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